

Matter of Summer F.-R. (Candice F.) (2025 NY Slip Op 01510)





Matter of Summer F.-R. (Candice F.)


2025 NY Slip Op 01510


Decided on March 14, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 14, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., MONTOUR, SMITH, DELCONTE, AND HANNAH, JJ.


264 CAF 23-01218

[*1]IN THE MATTER OF SUMMER F.-R. AND ETHAN F.-R.
ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT;andCANDICE F., RESPONDENT-APPELLANT. (APPEAL NO. 2.) 






MINDY L. MARRANCA, BUFFALO, FOR RESPONDENT-APPELLANT.
SHELBY S. MAROSELLI, BUFFALO, FOR PETITIONER-RESPONDENT.
DAVID C. SCHOPP, THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (CLAIRE H. FORTIN OF COUNSEL), ATTORNEY FOR THE CHILDREN. 


	Appeal from an order of the Family Court, Erie County (Kelly A. Brinkworth, J.), entered July 11, 2023, in a proceeding pursuant to Family Court Act article 10. The order determined that respondent had derivatively abused the subject children. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated in the decision at Family Court.
Entered: March 14, 2025
Ann Dillon Flynn
Clerk of the Court








